Stringer vs. Nissan North America Case No. 3:21-cv-00099
Francis L. Browne
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Peabody, MA 01960
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2014 Nissan Rogue SV VIN # 5NIAT2ZMV3EC753083
Vehicle entered service as a lease in February 2014
Current Odometer Mileage 76,563

| object to the proposed settlement on the following grounds and propose the following resolution.

I currently own the 2014 Nissan Rogue SV mentioned above that | purchased used on February 11, 2017
from Kelly Nissan in Beverly, MA. It was a Nissan Certified Pre-Owned Vehicle that was 36 months old
with 27,421 miles. One of the benefits of purchasing a Nissan Certified Pre-owned Vehicle is that NNA
warranties the powertrain to 72 months or 100,000 miles whichever comes first. This warranty upgrade
is not a'separately purchased negotiable item but comes with the vehicle. If | had purchased this used
vehicle in a private sale, or from a non-Nissan car dealer, or as a non-Certified Preowned, the original 60
month 60,000 mile warranty would have transferred to me.

The transmission in this vehicle displayed error code P0744 and the transmission needed to be replaced
in September 2021 at roughly 91months and 73,000 miles. The receipt is attached. Kelly Nissan in
Lynnfield, MA has a record of the Check Engine Codes as well as FNA Transmission in Wakefield, MA
where the transmission was replaced.

| believe that the proposed settlement is not only unfair to me but other plaintiffs who purchased a
Nissan Certified Pre-owned. Instead of receiving an extra 24 months or 24,000 miles, we are only
receiving 12 months while the mileage limit of the warranty actually decreases by 16,000 miles.

NNA gave this vehicle a 72 month 100,000 mile warranty when | purchased it. | propose the following
two resolutions which | believe are fairer to the plaintiffs who purchased a Certified Pre-owned vehicle.
The first resolution is to add 24 months or 24,000 miles to the NNA warranty that came with the vehicle
when | purchased it extending the warranty to 96 months or 124,000 miles.

The second resolution would be to leave the settlement at 84 month or 84,000 miles but change from

“whichever comes first” to “whichever comes last”.

The original warranty mentioned in the settlement that applied to this vehicle when purchased new
became null and void when [ purchased it as a Nissan Certified Pre-Owned.

| will not be appearing at the Fairness Hearing and will not be retaining separate counsel. | have not
objected to any class action settlements in the last 5 years.

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Francis L. Browne
January 7, 2022

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U.S. Ditrict Court for Middle Tennessee
Nashville District

Teresa Stringer et al v. Nissan North America
Inc. .

Case No. 3:21-cv-00099

801 Broadway

Room A820 »

Nashville, TN 37203

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